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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                            Chapter 11
                                                      Case No. 20-10343 (LSS)
    BOY SCOUTS OF AMERICA AND                         Jointly Administered
    DELAWARE Boy Scouts, LLC, 1
                                                      Hearing Date: September 9, 2020 at 10:00 a.m. (ET)
                                                      Objection Deadline: September 2, 2020 at 4:00 p.m. (ET)
                                 Debtors.


    DECLARATION OF JANINE PANCHOK-BERRY IN SUPPORT OF CENTURY AND
     HARTFORD’S MOTION TO COMPEL THE ATTORNEYS REPRESENTING THE
    ENTITY CALLING ITSELF THE “COALITION” TO SUBMIT THE DISCLOSURES
        REQUIRED BY FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

             I, Janine Panchok-Berry, pursuant to 28 U.S.C. § 1746(2), under penalty of perjury,

hereby declare as follows:

             1.     I am an associate at the firm O’Melveny & Myers LLP, Counsel for Century

Indemnity Company, as successor to CCI Insurance Company, as successor to Insurance Company

of North America and Indemnity Insurance Company of North America, Westchester Fire

Insurance Company, and Westchester Surplus Lines Insurance Company. I submit this declaration

based on my personal knowledge of the proceedings in In re Boy Scouts of America and Delaware

BSA, LCC, and review of the documents described below.

             2.     Attached hereto as Exhibit 1 is a true and correct copy of a letter sent from Tancred

Schiavoni to David J. Molton dated July 31, 2020.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Law, Irving, Texas 75038.


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       3.        Attached hereto as Exhibit 2 is a true and correct copy of an email exchange

between Sunni Beville, on behalf of the Coalition of Abused Scouts for Justice, and Tancred

Schiavoni, dated August 5, 2020.

       4.        Attached hereto as Exhibit 3 is a true and correct copy of Anne Andrews’ profile

page from the Andrews & Thornton website, last accessed on August 14, 2020 and available at

https://andrewsthornton.com/our-team/anne-andrews/.

       5.        Attached hereto as Exhibit 4 are several pages from the Abused in Scouting

website, which have been bates stamped:

            •    Bates 000001–000013 is a true and correct copy of the Abused in Scouting
                 homepage, last accessed on August 14, 2020 and available at
                 https://abusedinscouting.com/.

            •    Bates 000014–000015 is a true and correct copy of the “Attorney Disclaimer” page
                 from the Abused in Scouting website, last accessed on August 14, 2020 and
                 available at https://abusedinscouting.com/attorney-disclaimer/

            •    Bates 000016–000021 is a true and correct copy of “Boy Scouts of America
                 Bankruptcy” page from the Abused in Scouting website, last accessed on August
                 14, 2020 and available at https://abusedinscouting.com/boy-scouts-of-america-
                 bankruptcy/.

            •    Bates 000022–000027 is a true and correct copy of the “Media” page from the
                 Abused in Scouting website. The page includes eleven videos, which includes
                 promotional videos, interviews by AIS-affiliated attorneys, and news coverage of
                 Boy Scouts lawsuits. The page also includes links to news coverage of Abused in
                 Scouting (or attorneys affiliated with the group) in the Seattle Times, the
                 Washington Post, U.S. News and World Report, the Los Angeles Times, USA
                 Today, the Philadelphia Inquirer, Time Magazine, and the San Diego Union-
                 Tribune. The page was last accessed on August 14, 2020 and available at
                 https://abusedinscouting.com/media/.

       6.        Attached hereto as Exhibit 5 is a true and correct copy of an April 25, 2019

Washington Post article by Kayla Epstein, entitled “Victims of Sexual Abuse in the Boy

Scouts Were Encouraged to Come Forward. Hundreds Responded.” The article is available at




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http://www.washingtonpost.com/nation/2019/04/25/victims-sexual-abuse-boy-scouts-were-

encouraged-come-forward-hundreds-responded/.

       7.      Attached hereto as Exhibit 6 is a true and correct copy of the “Meet Our Legal

Team” page from the AVA Law Group, Inc. website, last accessed on August 14, 2020 and

available at https://avalaw.com/learn-more/who-we-are/.

       8.      Attached hereto as Exhibit 7 is a true and correct copy of a Google Maps image of

3667 Voltaire Street, San Diego, California, last accessed on August 14, 2020 and available at

https://www.google.com/maps/place/3667+Voltaire+St,+San+Diego,+CA+92106/@32.7396356,

-117.2308276,17z/data=!3m1!4b1!4m5!3m4!1s0x80deabacc2e9629d:0x73c679a47cc57e36!

8m2!3d32.7396311!4d-117.2286389.

       9.      Attached hereto as Exhibit 8 is a true and correct copy of part of the “About Us”

page from the Reciprocity Industries website, last accessed on August 14, 2020 and available at

https://reciprocityind.com/about-us/.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of the homepage from

Kosnoff.com, last accessed on August 14, 2020 and available at https://kosnoff.com/.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of the “Firm Overview”

page   from    Kosnoff.com,      last   accessed   on    August   14,    2020   and    available   at

https://kosnoff.com/overview/.

       12.     Attached hereto as Exhibit 11 is a true and correct copy of the profile page for

Timothy David Kosnoff from the Washington State Bar Association website, last accessed on

August 14, 2020 and available at https://www.mywsba.org/PersonifyEbusiness/LegalDirectory/

LegalProfile.aspx?Usr_ID=000000016586.




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       13.    Attached hereto as Exhibit 12 is a true and correct copy of a Google Maps image

of 1321 Upland Drive, Houston, Texas, last accessed on August 14, 2020 and available at

https://www.google.com/maps/place/1321+Upland+Dr,+Houston,+TX+77043/@29.7901608,-

95.5790546,17z/data=!3m1!4b1!4m5!3m4!1s0x8640db38d7f6c07b:0x910a7b9ebb49eb5e!8m2!

3d29.7901562!4d-95.5768659.

       14.    Attached hereto as Exhibit 13 is a true and correct copy of the “Available

Addresses for Mail Forwarding” page from the US Global Mail website, last accessed on August

14, 2020 and available at http://www.usglobalmail.com/help_category/available-addresses-for-

mailforwarding.

       15.    Attached hereto as Exhibit 14 is a true and correct copy of the Abused in Scouting

Facebook     homepage,    last   accessed   on    August    14,     2020   and    available   at

https://www.facebook.com/AbusedinScouting/.

       16.    Attached hereto as Exhibit 15 is a true and correct copy of a July 7, 2020 Reuters

article by Nate Raymond, entitled “Mass Tort TV Advertising Jumps Amid Coronavirus

Pandemic.” The article is available at https://1.next.westlaw.com/Document/Ib339b3c0bf7a11ea9

474d0445cbdb47e/View/FullText.html?transitionType=SearchItem&contextData=(sc.Category).

       17.    Attached hereto as Exhibit 16 is a true and correct copy of a page entitled “Boy

Scouts of America Creates Sexual Abuse Compensation Program” from the website for the

Consumer Justice Foundation. The page includes a box for readers to enter claims information,

advertising that “An attorney will review your situation for FREE and help you found [sic.] out

what really went wrong.” This page was last accessed on August 18, 2020 and is available at

http://www.consumerjusticefoundation.com/news/boy-scouts-of-america-creates-sexual-abuse-

compensation-program/.




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          18.    Attached hereto as Exhibit 17 is a true and correct copy of the transcript of a

hearing held on February 23, 2017 in In re Archdiocese of Saint Paul and Minneapolis, No. 15-

30125 at Docket No. 987, in which Judge Kressel granted the debtor’s motion for an order

requiring compliance with Rule 2019 of the Federal Rules of Bankruptcy Procedure.

          19.    Attached hereto as Exhibit 18 is a true and correct copy of an Order entered on

February 27, 2017 by the Honorable Robert J. Kressel in In re Archdiocese of Saint Paul and

Minneapolis, No. 15-30125 at Docket No. 984, granting debtor’s motion for an order requiring

compliance with Rule 2019 of the Federal Rules of Bankruptcy Procedure.

          20.    Attached hereto as Exhibit 19 is a true and correct copy of the complaint in

Archdiocese of New York v. Ins. Co. of N. Am., No. 653772/2019 (N.Y. Sup. Ct. filed June 28,

2019).

          21.    Attached hereto as Exhibit 20 is a true and correct copy of the Application to

Employ Blank Rome LLP as Special Insurance Counsel for the Debtor and Debtor-in-Possession

in Roman Catholic Archdiocese of Agana, No. 19-00010 (Bankr. D. Guam Jan. 17, 2019) at Docket

No. 39.

          22.    Attached hereto as Exhibit 21 is a true and correct copy of a November 3, 2020

Billings Gazette article by Juliana Sukut, entitled “Montana Victims Alleging Sex Abuse in the

Boy Scouts Join National Wave of Suits.” The article is available at https://billingsgazette.com/

news/state-and-regional/crime-and-courts/montana-victims-alleging-sex-abuse-in-the-boy-

scouts-join-national-wave-of-suits/article_59c73aab-334f-5b07-af24-b6bd24bcc8a7.html.

          23.    Attached hereto as Exhibit 22 is a true and correct copy of the Application to

Employ Blank Rome as Special Insurance Counsel for the Debtor and Debtor-in-Possession in In




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re Roman Catholic Church of the Archdiocese of Santa Fe, No. 18-13027-11 (D.N.M. Dec. 31,

2018) at Docket No. 55.

       24.     Attached hereto as Exhibit 23 is a true and correct copy of the Ex Parte Application

For Order Appointing Blank Rome, LLP as Special Insurance Counsel to the Debtor, In re the

Diocese of Buffalo, N.Y., No. 20-10322 (Bankr. W.D.N.Y. Apr. 22, 2020) at Docket No. 258.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of the Order Requiring

Compliance with Bankruptcy Rule 2019 and Granting Other Relief, In re Congoleum Corp.,

No. 03-51524 (Bankr. D.N.J. Sept. 2, 2005) at Docket No. 1153.

       26.     A video titled “AIS Legal Team Announces First Case Filed Against BSA for Child

Sex Abuse and 350 New Perpetrators” posted to YouTube by AVA Law Group on August 7, 2019,

and also posted on the Abused in Scouting website, shows attorneys who are identified as Stewart

Eisenberg, Joshua Schwartz, Tim Kosnoff, Andrew Van Arsdale. Starting at 0:21 of the video,

Mr Eisenberg states: “We are, at this table, a group of attorneys who have banded together since

February of this year into a partnership and a group called Abused in Scouting, made up of our

law firms, including myself from Eisenberg Rothweiler and my partner Josh Schwartz, and in

addition to that we have Tim Kosnoff from Kosnoff Law and Andrew Van Arsdale from the AVA

Law Group.”         The video is available at https://www.youtube.com/watch?time_continue=

7&v=pWjVtxoxZps&feature=emb_logo.

       27.     A video titled “Boy Scouts of America File for Bankruptcy - TV Spot - Abused in

Scouting - Scouting Victims Call Now” posted to YouTube by AVA Law Group on February 18,

2020 is an advertisement for legal services sponsored by Andrew Van Arsdale. A voice-over in

the video states:

               This is a paid advertisement for legal services sponsored by attorney
               Andrew Van Arsdale. For decades the Boy Scouts of America admitted



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               thousands of child molesters into their Scouting ranks, enabling countless
               acts of sexual abuse to occur against innocent children. And, now, instead
               of trying to right the horrific wrongs of the past, the Boy Scouts of America
               recently filed for bankruptcy as a last ditch effort to avoid any accountability
               for the massive coverup they perpetuated and, in doing so, denying justice
               for those who were abused under their watch. If you were abused as a
               member of the Boy Scouts, your time to act is quickly running out.
               Bankruptcy filings allow for a limited window to take action. Act now
               before it’s too late. Once the court's claims submission period ends, your
               opportunity to seek justice will be lost forever. Call Abused in Scouting for
               a free case consultation. The Boy Scouts of America may think they can get
               away with it. Don’t let them. Hold them accountable for their failure to
               protect innocent children.

The description below the video includes links to the Abused in Scouting website, including a link

for a “No-Obligation, 0$ Case Evaluation.” There are also links to the Twitter and Facebook pages

for Abused in Scouting, and a contact email address (support@ava.law) and phone number. The

video and description are available at https://www.youtube.com/watch?v=vcRxfSTASCY.

       28.     A video titled “AVA Law Group, What is Abused in Scouting? - Call for free Case

Evaluation - 1.888.99.SCOUT” posted to YouTube by AVA Law Group on July 16, 2020, and

posted to the Abused in Scouting website, is a video encouraging claimants to join Abused in

Scouting featuring an attorney identified as Andrew Van Arsdale. Starting at 2:37 of the video,

Mr. Van Arsdale states:

               You need to contact us. We work on the claim, we do everything for you.
               You never have to travel anywhere, you’re never going to appear in court,
               you’re never going to have to take a deposition subject to these high-paid
               lawyers on their side. We handle it for you. You can remain anonymous.
               We handle everything.

In addition, starting at 2:10, a claimant states “I’ve met a coalition of men who have joined

together to hold the Boy Scouts accountable for what’s going on. Join us.” The video is

available at https://www.youtube.com/watch?v=k2kpHd87nbY.

       29.     The Abused in Scouting website features an interactive search page titled “List of

Confirmed BSA Abusers.” This gives users the ability to “[s]earch our list of confirmed child sex


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abusers within the Boy Scouts of America.” The list has five columns: Year; Name or ID; Unit

City; Unit State; Unit Number. Any one or more of these criteria can be searched to generate a

list of individuals Abused in Scouting states are “confirmed abusers,” dates, and the corresponding

city,   state,   and   scouting   unit   number.         The   interactive   page   is     available   at

https://abusedinscouting.com/list-of-confirmed-bsa-abusers/.

        I declare under pain and penalty of perjury of the laws of the United States that the

foregoing is true and correct.




Dated: August 26, 2020                                 Respectfully Submitted,



                                                       By: /s/ Janine Panchok-Berry

                                                           JANINE PANCHOK-BERRY




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